     Case: 1:22-cv-03998 Document #: 41 Filed: 01/09/23 Page 1 of 1 PageID #:179



                         UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                             219 SOUTH DEARBORN STREET
                                CHICAGO, ILLINOIS 60604


    NOTIFICATION OF CHANGE OF ATTORNEY ADDRESS OR NAME

1. Complete this form and e-file it, using the Notice of Change of Address event, in each
   case that you list below.
2. Update your contact information in CM/ECF. Click HERE for update instructions.


Name Michael J. Victor

Firm     OKGC Law, LLC

Street Address 650 Dundee Road, Ste. 475

City/State/Zip Code Northbrook, IL 60062

Phone Number (847) 291-0200

Email address (847) 291-9230

ARDC (Illinois State Bar members, only) 6297846

If you have previously filed an appearance with this court using a different name, enter that name.


List all active cases in which you currently have an appearance on file.

Case Number                      Case Title                     Assigned Judge
2018-cv-50389                    Troy L. Plemmons v. Sara Rokey,Iain
                                                                  et al.
                                                                     D. Johnston
2020-cv-2861                     Aunt Martha’s Health & Wellness, Inc. v.
                                                             Thomas    M.Village
                                                                          Durkinof Midlothian
2022-cv-03998                    Abuatelah v. Vittorio et al       Steven C. Seeger
2022-cv-00607                    Gomez v. Village of Forest Park et al
                                                                 Charles P. Kocoras
2020-cv-05195                    Brown v. Gartner et al            Andrea R. Wood
2022-cv-50299                    Jones v. Gates et al              Iain D. Johnston


 s/Michael J. Victor                                           January 9, 2023
_______________________________                                _______________________
Signature of Attorney                                          Date


Rev. 01272016
